               Case 4:18-cv-00524-HSG Document 83 Filed 10/05/18 Page 1 of 4



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 8 Counsel for Defendants

 9                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                                      )
11    STATE OF CALIFORNIA, et al.,                    )
                                                      )
12            Plaintiffs,                             )
13                                                    )
                              v.                      )
14                                                    )
      U.S. BUREAU OF LAND                             )
15    MANAGEMENT, et al.                              )
                                                          Case No. 4:18-cv-00521-HSG (related)
                                                      )
16          Defendants.                               )
                                                          Case No. 4:18-cv-00524-HSG (related)
17    _________________________________               )
                                                      )
                                                          NOTICE OF LODGING
18    SIERRA CLUB, et al.,                            )
                                                          ADMINISTRATIVE RECORD
                                                      )
19            Plaintiffs,                             )
                                                      )
20                            v.                      )
21                                                    )
      RYAN ZINKE, et al.                              )
22                                                    )
              Defendants.                             )
23                                                    )
24

25           Federal Defendants hereby give notice of lodging the administrative record for the rule titled

26 “Oil and Gas; Hydraulic Fracturing on Federal and Indian Lands; Rescission of a 2015 Rule,” 82 FR

27 61,924. Attached to this notice is the certification of the administrative record. One courtesy copy of

28
     Defendants’ Notice of Lodging the Administrative Record
     California v. BLM, 4:18-CV-521 HSG; Sierra Club v. Zinke, 4:18-CV-524 HSG
                                                            1
               Case 4:18-cv-00524-HSG Document 83 Filed 10/05/18 Page 2 of 4



 1 the record will be provided for chambers. Copies of the record will be mailed today via FedEx to the

 2 Office of the Clerk, to the Court’s chambers, and to Plaintiffs’ and Intervenors’ counsel.

 3           The record is on one flash drive and contains 909 individual documents, comprising

 4 approximately one gigabyte of material, Bates-stamped from HFRR_000001 to HFRR_034679. Also

 5 included on the flash drive is the hyperlinked index to the administrative record.

 6

 7                                                   Respectfully submitted,

 8 Dated: October 5, 2018                            JEFFREY H. WOOD
                                                     Acting Assistant Attorney General
 9
                                                     /s/ Rebecca Jaffe
10
                                                     Environment and Natural Resources Division
11                                                   United States Department of Justice
                                                     CORINNE SNOW (TX Bar No. 24083883)
12                                                   REBECCA JAFFE (NC Bar No. 40726)
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16                                                   Counsel for Defendant
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     Defendants’ Notice of Lodging the Administrative Record
     California v. BLM, 4:18-CV-521 HSG; Sierra Club v. Zinke, 4:18-CV-524 HSG
                                                            2
          Case 4:18-cv-00524-HSG Document 83 Filed 10/05/18 Page 3 of 4




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                             )
 STATE OF CALIFORNIA, et aI.,                )
                                             )
        Plaintiffs,                          )
                                             )
                       v.                    )
                                             )
 U.S. BUREAU OF LAND                         )
 MANAGEMENT, et aI.                          )
                                             ) Case No. 4:1S-cv-00521-HSG (related)
        Defendants.                          )
                                             ) Case No.4: 1S-cv-00524-HSG (related)
                                             )
SIERRA CLUB, et aI.,                         )
                                             )
        Plaintiffs,                          )
                                             )
                       v.                    )
                                             )
RYAN ZINKE, et aI.                           )
                                             )
        Defendants.                          )
--------------------------- )


                  CERTIFICATION OF THE ADMINISTRATIVE RECORD

I, Timothy Spisak, declare as follows:

1.   I am the Deputy Assistant Director-Energy,   Minerals & Realty Management Directorate of

     the Bureau of Land Management (BLM), United States Department of the Interior, located

     in Washington, DC. I have been employed by BLM for 34 years, and I have held my

     current position since March 2017.

2.   I oversaw and provided direction to the team formed implement changes to the BLM's 2017

     Hydraulic Fracturing Rescission Rule. In this capacity, I manage the BLM's minerals
          Case 4:18-cv-00524-HSG Document 83 Filed 10/05/18 Page 4 of 4



     programs, including oversight of the BLM's Fluid Minerals Branch in our headquarters

     office. I have been involved in managing the development and review of the BLM's

     Hydraulic Fracturing Rescission Rule. I am generally familiar with the documents directly

     or indirectly considered in the course of that rulemaking. I am also familiar with the process

     by which the documents relevant to the rulemaking were collected and compiled into the

     complete record that is being lodged with the Court on October 5, 2018.

3.   The record is accompanied by a hyperlinked index that provides the following information

     for each document in the record: document number, Bates range, date, time, author and

     recipient, document type, page count, and document title.

4.   The record contains 909 individual documents, comprising approximately 1 GB of material,

     Bates stamped from HFRR_OOOOOIto HFRR_034679.

5.   To the best of my knowledge, the files included in the USB flash drive being provided to the

     Court and the parties are true, accurate, and complete copies of the documents and materials

     listed in the index to the administrative record.

6.   I declare under penalty of perjury that the above statements are true and correct to the best

     of my knowledge.

     Executed on this 4th day of October, 2018.



                                                   L.

                                                         Timothy S s
                                                         Deputy Ass! nt Director
                                                         Energy, Minerals & Realty Management
                                                         Bureau of Land Management
